Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 1 of 59 PageID #: 283




                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA



 UNITED STATES OF AMERICA ex rel.            Case No.: 1:23-cv-01
 JOSEPH SEIKEL and TERENCE SEIKEL,

                   Plaintiffs,               AMENDED COMPLAINT FOR
                                             FALSE CLAIMS ACT VIOLATIONS
       v.                                    UNDER 31 U.S.C. §§ 3729–3733

 DAVID B. ALVAREZ, APPLIED
 CONSTRUCTION SOLUTIONS, INC.,
 ENERGY TRANSPORTATION LLC,
 ENERGY RESOURCE GROUP, LLC, ET360,
 LLC, BEAR CONTRACTING, LLC, BEAR
 UTILITIES, LLC, JASON P. HENDERSON,
 and JOHN DOES NOS., 1-50, FICTITIOUS
 NAMES,

                   Defendants.




                                        ii
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 2 of 59 PageID #: 284




                                                 TABLE OF CONTENTS



 I.     INTRODUCTION ...............................................................................................................1
 II.    JURISDICTION AND VENUE ..........................................................................................5
 III.   PARTIES .............................................................................................................................5
        A.         Plaintiff/Relator........................................................................................................5
        B.         Defendants ...............................................................................................................6
                   1.         David B. Alvarez .........................................................................................6

                   2.         Applied Construction Services, Inc. ............................................................6

                   3.         Energy Transportation, LLC ........................................................................7

                   4.         Energy Resource Group, LLC .....................................................................7

                   5.         ET360, LLC .................................................................................................7

                   6.         Bear Contracting, LLC.................................................................................7

                   7.         Bear Utilities, LLC.......................................................................................8

                   8.         Jason P. Henderson ......................................................................................8

                   9.         John Does Nos. 1-50, Fictitious Names .......................................................8

 IV.    BACKGROUND .................................................................................................................9
        A.         Background on SBA Lending in Response to COVID-19 ......................................9
        B.         Determining the Size of a Business .......................................................................11
        C.         Affiliation Principles for Small Businesses ...........................................................12
        D.         Liability And Remedies Under the False Claims Act ............................................14
 V.     THE AFFILIATED DEFENDANTS’ FRAUDULENT SCHEME ..................................16
        A.         Overview of the Principal Affiliates ......................................................................16
                   1.         Defendant David B. Alvarez ......................................................................17

                   2.         Overview of Applied Construction Services, Inc. .....................................17

                   3.         Overview of Energy Transportation, LLC .................................................18

                   4.         Overview of ET360, LLC ..........................................................................19


                                                                   iii
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 3 of 59 PageID #: 285




                   5.        Overview of ERG, LLC .............................................................................20

                   6.        Overview of Bear Contracting, LLC .........................................................21

                   7.        Overview of Bear Utilities, LLC ...............................................................22

                   8.        Jason P. Henderson ....................................................................................23

         B.        Defendants Are Affiliated for Purposes of SBA Laws and Regulations ...............23
                   1.        The Affiliated Defendants Share Common Ownership .............................23

                   2.        The Affiliated Defendants Share Common Management ..........................25

                   3.        The Affiliated Defendants Cross-Sell Their Various Services ..................31

                   4.        The Affiliated Defendants Share Critical Resources, Personnel,
                             and Finances...............................................................................................35

                             a.        Physical Office Space ....................................................................35

                             b.        Management Personnel and Resources ..........................................36

                             c.        Employees and Equipment ............................................................37

         C.        Defendants Intentionally Concealed Plans to Shut Down and Sell Some of
                   the Affiliated Defendants Before Applying for PPP Loans ...................................41
         D.        The Alternative Size Test Does Not Apply ...........................................................43
 VI.     THE AFFILIATED DEFENDANTS INTENTIONALLY MISREPRESENTED
         THEIR SIZE STATUS ......................................................................................................45
 VII.    THE AFFILIATED DEFENDANTS CONSPIRED WITH OTHER
         AFFILIATED ENTITIES TO DEFRAUD THE UNITED STATES ...............................45
 VIII.   THE AFFILIATED DEFENDANTS’ FRAUDULENT SUBMISSION OF
         FALSE CLAIMS TO FEDERAL PROGRAMS ...............................................................50
 IX.     SYSTEMIC DAMAGES CAUSED BY SMALL BUSINESS
         MISREPRESENTATION FRAUD ...................................................................................51
 COUNT I (Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(A)) ......................................52

 COUNT II (Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(B)) .....................................53

 COUNT III (Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(C))....................................53

 COUNT IV (Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(G))....................................54

                                                                 iv
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 4 of 59 PageID #: 286



            AMENDED COMPLAINT FOR FALSE CLAIMS ACT VIOLATIONS
                       UNDER 31 U.S.C. § 3729 ET SEQ.

       This is an action brought on behalf of the United States of America by Joseph Seikel and

Terence Seikel (“Relators”), by and through their attorneys, against Defendants David B. Alvarez,

Applied Construction Solutions, Inc., Energy Transportation, LLC, Energy Resource Group, LLC,

ET360, LLC, Bear Contracting, LLC, Bear Utilities, LLC, Jason P. Henderson (collectively, the

“Affiliated Defendants”), and John Does #1-50, Fictitious Names, pursuant to the qui tam provisions

of the Federal Civil False Claims Act, 31 U.S.C. §§ 3729–3733 (“FCA”).

I.     INTRODUCTION

       1.     In March 2020, the Coronavirus Aid, Relief, and Economic Security (“CARES”) Act

was enacted to provide emergency financial assistance to the millions of Americans who are

suffering the economic effects caused by the COVID-19 pandemic. The CARES Act established

several new temporary programs and provided for expansion of others, including programs created

and/or administered by the United States Small Business Administration (“SBA”).

       2.     One source of relief provided by the CARES Act was the authorization of $349

billion in potentially forgivable loans to small businesses for job retention and certain other

expenses, through a program referred to as the Paycheck Protection Program (“PPP”). To date,

Congress has authorized over $659 billion in PPP funding.

       3.     The PPP was established to ensure the continued vitality of small businesses. “Small

businesses are the lifeblood of the U.S. economy: they create two-thirds of net new jobs and drive

U.S. innovation and competitiveness” while accounting for “44 percent of U.S. economic activity.”1

Accordingly, Congress has long recognized that “the Government should aid, counsel, assist, and



1
 U.S. Small Bus. Admin. Office of Advocacy, Small Businesses Generate 44 Percent of U.S.
Economic Activity (Jan. 30, 2019), https://advocacy.sba.gov/2019/01/30/small-businesses-generate-
44-percent-of-u-s-economic-activity/.
                                          Page 1 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 5 of 59 PageID #: 287



protect, insofar as is possible, the interests of small-business concerns in order to preserve free

competitive enterprise, to insure that a fair proportion of the total purchases and contracts or

subcontracts for property and services for the Government . . . be placed with small-business

enterprises, . . . and to maintain and strengthen the overall economy of the Nation.” 15 U.S.C. §

631(a).

          4.   With limited exceptions not applicable here,2 only small businesses with 500 or fewer

employees are eligible borrowers in the PPP.

          5.   This case involves a duplicitous scheme in which the Affiliated Defendants falsely

certified in separate loan applications submitted to approved lenders and the SBA that they were

distinct small businesses and that each was eligible to receive potentially forgivable PPP loans. In

reality, however, these entities are “affiliated” with each other under SBA rules and regulations,

resulting in a combined total of at least 764 employees shared among the Affiliated Defendants. As

the direct result of these intentional misrepresentations, the Affiliated Defendants received PPP loan

proceeds—for which they were not eligible—totaling up to $13,849,170.00.

          6.   The Affiliated Defendants provide various services in the oil and gas industry,

including transportation services, fluid management, emergency response, and environmental

containment.

          7.   All the Affiliated Defendants are controlled and/or managed by Defendant David B.

Alvarez. Although each of the Affiliated Defendants represented themselves to the SBA as distinct


2
  Small business concerns can be eligible borrowers even if they have more than 500 employees, as
long as they satisfy the existing statutory and regulatory definition of a “small business concern”
under section 3 of the Small Business Act, 15 U.S.C. § 632, and meet the SBA employee or
revenue-based size standard corresponding to their primary industry. None of the Affiliated
Defendants qualify as small under this statutory and regulatory definition. Further, not a single
entity out of the 661,218 loans publicly disclosed by the SBA reported a total number of employees
above 500.


                                           Page 2 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 6 of 59 PageID #: 288



entities, behind the scenes—and at Alvarez’s direction—the Affiliated Defendants operate as one

interconnected company, sharing office space, employees, software, computers, vehicles,

equipment, human resources, and cash management. The Affiliated Defendants also commingled

funds as part of their shared operations.

       8.      Alvarez also uses the Affiliated Defendants as interchangeable pieces in his business

dealings. For example, Alvarez often directs one of the Affiliated Defendants to loan equipment and

personnel to perform work under a contract held by another Affiliated Defendant, often without

requiring invoices or otherwise accounting for the use of these resources—an uncommon practice

between entirely distinct companies.

       9.      Not only were the Affiliated Defendants ineligible to receive PPP proceeds, but

Defendant Alvarez had also already finalized plans to shutter at least one of the Affiliated

Defendants before applying for the federal funds. In early April 2020, Alvarez convened a meeting

among senior personnel from Defendants ACS, Energy Transportation, and ET360. At this meeting,

Alvarez directed that ET360’s trucking services be transferred to Energy Transportation’s

operations, while ET360’s industrial and other non-trucking services be moved to ACS. Thereafter,

Alvarez explained the plan to wind up ET360’s business entirely.

       10.     The Affiliated Defendants took advantage of the emergency lending provisions of the

PPP—recognizing the SBA would not be able to determine whether every business actually

qualifies as small during a pandemic—that were intended to assist employees and small businesses

battered by COVID-19. The Affiliated Defendants fooled the federal government into approving

PPP loans they did not deserve, resulting in millions of dollars in damages.

       11.     Perhaps most importantly, the Affiliated Defendants deprived honest, hardworking

small business owners of the relief opportunities they deserved. Although the harm to the federal



                                            Page 3 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 7 of 59 PageID #: 289



government can be measured in dollars and cents, the downstream economic and social impact of

these stolen loan opportunities is incalculable.

       12.     In fact, the PPP’s initial $349 billion allotment was exhausted after just 14 days,

leaving the vast majority of eligible small businesses without access to relief. In fact, of the

approximately 30 million small businesses in the United States, the SBA was only able to approve

1.6 million PPP loans during the first round of funding. Many small businesses that were unable to

secure relief offered by the United States were forced to permanently lay off staff and shut down

operations.

       13.     As a consequence of the Affiliated Defendants’ willful misrepresentations, the United

States approved PPP loans to the Affiliated Defendants that were intended for eligible small

businesses. The United States would not have approved these PPP loans had it been fully aware of

the nature of the combined affiliated entities and that the Affiliated Defendants did not constitute

small business concerns under the applicable rules and regulations.

       14.     Among other misconduct, as detailed herein, the Affiliated Defendants conspired

with numerous co-conspirators to deceive the Government as to their small business status, and thus

their eligibility to participate in the PPP. This misconduct was based on collusion and conspiracy

among the Affiliated Defendants and these co-conspirators to conceal their true size status from the

Government.

       15.     As a direct, proximate, and foreseeable result of the Affiliated Defendants’ fraudulent

course of conduct set forth herein, the Affiliated Defendants have knowingly made numerous false

express and implied certifications and/or caused the submission of false or fraudulent statements and

false claims to Government programs for PPP loan proceeds.              As a result of these false

certifications, the Government was falsely and/or fraudulently induced to approve the Affiliated



                                            Page 4 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 8 of 59 PageID #: 290



Defendants’ PPP loan applications and accepted terms and conditions to which it would not have

agreed had it known the truth.

            16.   Because the United States was falsely and/or fraudulently induced to approve these

loans for the Affiliated Defendants, each claim for payment under each PPP loan application was a

false claim.

            17.   This conduct is continuing.

II.         JURISDICTION AND VENUE

            18.   This Court has subject matter jurisdiction over claims brought on behalf of the United

States under the False Claims Act, 31 U.S.C. §§ 3729 et seq., pursuant to 31 U.S.C. §§ 3730 and

3732.

            19.   This Court has personal jurisdiction over the Affiliated Defendants pursuant to 31

U.S.C. § 3732(a) because they transact business and are found in this judicial district, and acts

proscribed by 31 U.S.C. § 3729 occurred in this judicial district.

            20.   Venue is proper in this judicial district under 31 U.S.C. § 3732(a), and under 28

U.S.C. §§ 1391(b) and 1395(a), because the Affiliated Defendants operate businesses within this

judicial district, and certain acts that form the basis of this Amended Complaint occurred in this

judicial district.

         21.      The causes of action alleged herein are timely brought because, among other things,

of efforts by the Defendants to conceal their wrongdoing.

III.     PARTIES

       A.         PLAINTIFF/RELATOR

            22.   Relators Joseph Seikel, a resident of Michigan, and Terence Seikel, a resident of

South Carolina, bring this action on behalf of themselves and the United States of America.




                                                Page 5 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 9 of 59 PageID #: 291



           23.    Relators are insiders who have direct knowledge of the conduct alleged in this

Amended Complaint and conducted an independent investigation to uncover false claims submitted

to the United States. Accordingly, Relators are an “original source” of the non-public information

alleged in this Amended Complaint within the meaning of the federal FCA, 31 U.S.C. §

3730(e)(4)(A) and (B).

           24.    Relators also voluntarily provided the non-public information alleged herein to the

Government prior to filing this action in accordance with 31 U.S.C. § 3730(b)(2).

      B.          DEFENDANTS

                  1.     David B. Alvarez

        25.       Defendant David B. Alvarez (“Alvarez”) is a resident of West Virginia. Alvarez is

the current owner and President of Defendant Energy Transportation, LLC. Alvarez founded and

controls Defendant Applied Construction Solutions, Inc., Defendant Energy Transportation, LLC,

and Defendant ET360, LLC. Alvarez also serves as President of Defendant Applied Construction

Solutions, Inc.

                  2.     Applied Construction Services, Inc.

        26.       Defendant Applied Construction Solutions, Inc. (“ACS”) is a West Virginia

corporation with its principal place of business listed at 1000 Jerry Dove Drive, Suite 200

Bridgeport, West Virginia 26330.

        27.       ACS was incorporated in 1981 and operated under the name MEC Construction, Inc.

until June 27, 2011. Defendant David B. Alvarez serves as President of ACS and is a 50% owner of

the company.

           28.    During all relevant time periods, ACS has conducted business operations in this

district.




                                            Page 6 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 10 of 59 PageID #: 292



                 3.      Energy Transportation, LLC

         29.     Defendant Energy Transportation, LLC (“Energy Transportation”) is a West Virginia

 corporation with its principal place of business listed at 1000 Jerry Dove Drive, Suite 200

 Bridgeport, West Virginia 26330. Energy Transportation was incorporated in 2013. Defendant

 David B. Alvarez is the President and 100% owner of Energy Transportation.

         30.     During all relevant time periods, Energy Transportation has conducted business

 operations in this district.

                 4.      Energy Resource Group, LLC

         31.     Defendant Energy Resource Group, LLC (“ERG”) is a West Virginia corporation

 with its principal place of business at 1000 Jerry Dove Drive, Bridgeport, West Virginia 26330.

 ERG was incorporated in 2017. Defendants David B. Alvarez and Jason Henderson together own

 100% of ERG.

         32.     During all relevant time periods, ERG has conducted business in this district.

                 5.      ET360, LLC

         33.     Defendant ET360 d/b/a Quantum Environmental Services is a West Virginia

 corporation with its principal place of business at 63 Pallet Street Bridgeport, West Virginia 26330.

 ET360 was incorporated in 2016, and its current Chief Financial Officer is Jason Henderson.

 Defendants David B. Alvarez and Jason Henderson each own 50% of ET360.

         34.     During all relevant time periods, ET360 has conducted business operations in this

 district.

                 6.      Bear Contracting, LLC

         35.     Defendant Bear Contracting, LLC is a West Virginia corporation with its principal

 place of business listed at 1 Columbia Boulevard, Clarksburg, West Virginia 26301.               Bear

 Contacting was incorporated in 1998 and its current President is Mark Urso. Defendant David B.


                                            Page 7 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 11 of 59 PageID #: 293



 Alvarez serves as a principal partner and manager of the company. David B. Alvarez is one-third

 owner of Bear Holdings, LLC, which owns Bear Contracting.

                7.      Bear Utilities, LLC

        36.     Defendant Bear Utilities, LLC is a West Virginia corporation with its principal place

 of business listed at 1 Columbia Boulevard, Clarksburg, West Virginia 26301. Bear Utilities was

 incorporated on March 28, 2012, and its current President is Mark Urso. Manuel Alvarez, brother of

 Defendant David B. Alvarez, is listed as the organizer of Bear Utilities.

                8.      Jason P. Henderson

        37.     Defendant Jason P. Henderson (“Henderson”) is a resident of West Virginia.

 Henderson is the current Chief Financial Officer of Defendant Energy Transportation and serves as

 the de facto Chief Financial Officer of the remaining Affiliated Defendants. Henderson also has

 ownerships interests in Defendant ERG and Defendant ET360.

                9.      John Does Nos. 1-50, Fictitious Names

        38.     John Does Nos. 1-50, Fictitious Names, are individuals, corporations, limited liability

 companies, partnerships, trusts, or other lawful business entities through which Defendants do

 business, and who are unknown co-conspirators who conspired with the Affiliated Defendants to

 perpetuate the scheme described herein.

        39.     To the extent that any of the conduct or activities described in this Amended

 Complaint was not performed by the Affiliated Defendants, but by the individuals or entities

 described herein as John Does Nos. 1-50, Fictitious Names, any reference herein to “the Affiliated

 Defendants” or “Defendants” under such circumstances, and only under such circumstances, refers

 also to John Does Nos. 1-50, Fictitious Names, and/or other co-conspirators who conspired with the

 Affiliated Defendants to perpetrate the scheme described herein.




                                            Page 8 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 12 of 59 PageID #: 294



        40.      As a result of actions of John Does Nos. 1-50, Fictitious Names, the United States has

 suffered financial harm.

 IV.     BACKGROUND

       A.        BACKGROUND ON SBA LENDING IN RESPONSE TO COVID-19

        41.      The United States Small Business Administration (the “SBA”) is a federal agency of

 the Executive Branch that administers assistance to American small businesses. This assistance

 includes guaranteeing loans that are issued by certain lenders to qualifying small businesses.

        42.      Under the SBA loan guarantee programs, the actual loan is issued by a commercial

 lender, but the lender receives the full faith and credit backing of the United States Federal

 Government on a percentage of the loan.

        43.      Therefore, if a borrower defaults on an SBA-guaranteed loan, the commercial lender

 may seek reimbursement from the SBA, up to the percentage of the guarantee. By reducing the risk

 to commercial lenders, the SBA loan guarantee programs enable lenders to provide loans to

 qualifying small businesses when financing is otherwise unavailable to them on reasonable terms

 through normal lending channels.

        44.      When a borrower seeks an SBA-guaranteed loan, the borrower must meet both the

 commercial lender's eligibility requirements for the loan as well as the SBA’s eligibility

 requirements.

        45.      The Coronavirus Aid, Relief, and Economic Security (“CARES”) Act is a federal law

 enacted on March 29, 2020, designed to provide emergency financial assistance to the millions of

 Americans who are suffering the economic effects caused by the COVID-19 pandemic. One source

 of relief provided by the CARES Act was the initial authorization of up to $349 billion in forgivable

 loans to small businesses for job retention and certain other expenses through the Paycheck

 Protection Program (the “PPP”).

                                            Page 9 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 13 of 59 PageID #: 295



         46.     On April 24, 2020, the Paycheck Protection Program and Health Care Enhancement

 Act was signed into law, authorizing over $300 billion in additional PPP funding. As of the relevant

 dates of the loans obtained by the Affiliated Defendants, the PPP allows qualifying small businesses

 and other organizations to receive unsecured SBA-guaranteed loans with a maturity of two years and

 interest rate of one percent. PPP loan proceeds must be used by businesses on payroll costs,

 mortgage interest, rent, and/or utilities.

         47.     The PPP allows the interest and principal to be forgiven if businesses spend the

 proceeds on these expenses under certain conditions. Pursuant to the CARES Act, the amount of

 PPP funds a business is eligible to receive is determined by the number of employees employed by

 the business and their average payroll costs. Businesses applying for a PPP loan must provide

 documentation to confirm that they have in the past paid employees the compensation represented in

 the loan application.

         48.     The PPP is overseen by the SBA, which has authority over all PPP loans, but

 individual PPP loans are issued by approved commercial lenders who receive and process PPP

 applications and supporting documentation, and then make loans using the lenders’ own funds.

         49.     The PPP Borrower Application Form, also known as SBA Form 2483 (the “PPP

 Application”), asks whether the applicant (or any owner of the applicant) also serves as “an owner

 of any other business, or have common management with any other business?” If answered in the

 affirmative, the applicant is required to list all such businesses and describe the relationship on a

 separate sheet identified in addendum A to the PPP Application.

         50.     The PPP Application also required the applicant to certify that it (along with its

 affiliates) “employs no more than the greater of 500 or employees or, if applicable, the size standard

 in number of employees established by the SBA in 13 C.F.R. 121.201” for the applicant’s industry.



                                              Page 10 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 14 of 59 PageID #: 296



 None of Defendants operate under an industry class code with a size standard greater than 500

 employees.

        51.       The PPP Application also required the applicant to make and place his or her initials

 by the following certifications, among others:

              •   “During the period beginning on February 15, 2020 and ending on December 31,
                  2020, the Applicant has not and will not receive another loan under the Paycheck
                  Protection”;

              •   “I further certify that the information provided in this application and the information
                  provided in all supporting documents and forms is true and accurate in all material
                  respects”; and

              •   “I understand that knowingly making a false statement to obtain a guaranteed loan
                  from SBA is punishable under the law, including under 18 U.S.C. § 1001 and 3571
                  by imprisonment of not more than five years and/or a fine of up to $250,000; under
                  15 U.S.C. § 645 by imprisonment of not more than two years and/or a fine of not
                  more than $5,000; and, if submitted to a federally insured institution, under 18 U.S.C.
                  § 1014 by imprisonment of not more than thirty years and/or a fine of not more than
                  $1,000,000.”

         B.       DETERMINING THE SIZE OF A BUSINESS

        52.       For the purposes of federal programs like the PPP for which status as a small

 business is required, a concern must not exceed the size standard under the applicable North

 American Industry Classification System (“NAICS”) code specified in the solicitation, whether the

 threshold is based upon number of employees or annual revenues. 13 C.F.R. §§ 121.401-121.413.

        53.       In determining the size of a business, the SBA rules count the number of employees

 or the contractor’s three-year annual revenues, as well as those of any affiliates of the contractor. Id.

 § 121.103(a)(6).

        54.       Each NAICS industry code has a corresponding size standard, and the table is

 published annually in the Federal Register. Id. § 121.101.




                                              Page 11 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 15 of 59 PageID #: 297



         55.     If a purported “small business” and its affiliates have employees or average annual

 receipts in excess of the relevant NAICS Code, it is not a small business and it may not represent

 itself as a small business for the purpose of obtaining PPP loan proceeds.

         C.      AFFILIATION PRINCIPLES FOR SMALL BUSINESSES

         56.     In certain circumstances, two or more companies are considered to be “affiliated.”

 When companies are affiliated, the SBA determines their size by combining the revenue and/or

 number of employees of each company. Thus, each company is less likely to fall below the SBA’s

 applicable limit and is less likely to be eligible for preferred contracting status.

         57.     Affiliation exists when one business, directly or indirectly, controls or has the power

 to control another business, or when a third party, directly or indirectly, controls or has the power to

 control both businesses. See 13 C.F.R. § 121.103(a); 49 C.F.R. § 19.101; U.S. Small Bus. Admin.,

 A Handbook for Small Business Liaison Officers (“SBLO Handbook”) 16 (2010), available at

 https://www.sba.gov/sites/default/files/articles/Small_Business_Liaison_Officer_

 (SBLO)_Handbook_6_2010.pdf.

         58.     For a business to be considered small, it cannot be controlled by a large business or

 have the ability to be controlled by one. “It does not matter whether control is exercised, so long as

 the power to control exists.” 13 C.F.R. § 121.103(a)(1).

         59.     Control may be affirmative (i.e., the power to make a business act in a certain way)

 or negative (i.e., the power to block another business’s actions). Id. § 121.103(a)(3).

         60.     Control may arise through ownership, management, or other relationships or

 interactions between the parties. See id. § 121.103(a). If one or more officers, directors, managing

 members, or general partners of a business control the Board of Directors and/or the management of

 another business, the businesses are affiliated. See id. § 121.103(e). The SBA uses a totality of the

 circumstances test and may find affiliation even when no single factor is sufficient.             Id. §

                                              Page 12 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 16 of 59 PageID #: 298



 121.103(a)(5). The SBA publishes clear guidance illustrating the operation of the affiliation rules.

 Small           Bus.           Admin.,          An          Overview            on          Affiliation,

 http://www.sba.gov/sites/default/files/affiliation_discussion_0.pdf (last visited January 18, 2019).

         61.     Affiliation through common ownership and management can be found when a person

 or entity is a majority shareholder of a small business concern or where the officers, directors, or

 managing members of one concern are able to control the board of directors and/or management of

 another concern. 13 C.F.R. § 121.103(e). The positions of CEO, COO, and CFO are commonly

 understood to be senior leadership positions that carry with them the ability to exercise substantive

 control or critical influence over the company’s operations.

         62.     Affiliation through identical business interests can be found either when two or more

 entities have substantially identical business or economic interests (either because of family ties,

 common investments, or firms economically dependent on each other), or when former owners,

 managers, or key employees of one concern organize a new concern in the same or related field. Id.

 § 121.103(f).

         63.     Ascertaining an entity’s size is not a difficult exercise. The SBA has extensive,

 layman-readable instructions that describe the process in plain English. See, e.g., Small Bus.

 Admin., Size Standards, https://www.sba.gov/federal-contracting/contracting-guide/size-standards

 (last visited Apr. 4, 2023).

         64.     Defendants knew, or at the very least should have known, that they were affiliated.

 First, Defendants Alvarez and Henderson are sophisticated and experienced businessmen. If anyone

 should have been aware that the Affiliated Defendants were not eligible to receive PPP proceeds, it

 was Alvarez. Defendant Alvarez is the Interim Chairman of MVB Financial Corp.—a publicly-

 traded bank that issued a minimum of 124 loans under the PPP. Alvarez also serves on MVB’s bank

 loan approval committee. Meanwhile, Defendant Henderson has a business administration degree

                                            Page 13 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 17 of 59 PageID #: 299



 from Fairmont State University, an MBA from West Virginia University, and has served as the de

 facto Chief Financial Officer for all the Affiliated Defendants. Second, Defendants could (and

 should) have easily consulted the SBA’s resources to confirm they were not small business concerns

 due to their affiliation.

         65.     If consulting the SBA website were too difficult, Defendants could have, free of

 charge, placed a phone call to one of the many SBA Procurement Centers around the country.

 These centers are staffed with experienced personnel trained to provide guidance on size and status

 compliance      questions.       The     directory    is     found   at:    https://www.sba.gov/federal-

 contracting/counseling-help/procurement-center-representative-directory.

      D.         LIABILITY AND REMEDIES UNDER THE FALSE CLAIMS ACT

         66.     When a business falsely certifies in its PPP Application that it is an eligible small

 business, it becomes subject to a stiff sanctions regime intended to deter fraud with the PPP.

         67.     In addition to other laws that may be applicable, section 16(d) of the Small Business

 Act provides severe criminal penalties for knowingly misrepresenting the small business size status

 of a concern in connection with procurement programs. 15 U.S.C. § 645(d). Section 16(a) of the

 Act also provides, in part, for criminal penalties for knowingly making false statements or

 misrepresentations to SBA for influencing in any way the actions of the Agency. 13 C.F.R. §

 121.108.

         68.     The penalties for violating these certifications could not be more clear in the self-

 certifications made by each business concern bidding small business size:              “any person who

 misrepresents a firm’s status as a business concern that is small . . . in order to obtain a contract to be

 awarded under the preference programs established pursuant to section 8, 9, or 15, 31, and 36 of the

 Small Business Act shall (i) Be punished by imposition of fine, imprisonment, or both; (ii) Be



                                              Page 14 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 18 of 59 PageID #: 300



 subject to administrative remedies, including suspension and debarment; and (iii) Be ineligible for

 participation in programs conducted under the authority of the Act.” 15 U.S.C. § 645(d).

        69.      The False Claims Act (“FCA”), as amended by the Fraud Enforcement and Recovery

 Act of 2009 (“FERA”), Pub. L. 111-21, § 4(f), 123 Stat, 1617, 1625 (2009), provides in pertinent

 part that a person is liable to the United States Government for three times the amount of damages

 the Government sustains because of the act of that person, plus a civil penalty, for each instance in

 which the person “knowingly presents, or causes to be presented, a false or fraudulent claim for

 payment or approval.” 31 U.S.C. § 3729(a)(1)(A). Prior to the FERA amendments, the FCA

 provided that a person is liable to the United States Government for each instance in which the

 person “knowingly presents, or causes to be presented, to an officer or employee of the United

 States Government . . . [a] false or fraudulent claim for payment or approval.”              31 U.S.C.

 § 3729(a)(1).

        70.      The FCA defines the term “claim” to mean “any request or demand, whether under a

 contract or otherwise, for money or property and whether or not the United States has title to the

 money or property, that (i) is presented to an officer, employee, or agent of the United States; or (ii)

 is made to a contractor, grantee, or other recipient, if the money or property is to be drawn down or

 used on the Government’s behalf or to advance a Government program or interest, and if the United

 States Government (i) provides or has provided any portion of the money or property requested or

 demanded; or (ii) will reimburse such contractor, grantee, or other recipient for any portion of the

 money or property which is requested or demanded.” 31 U.S.C. § 3729(b)(2)(A).

        71.      As amended by FERA, the FCA also makes a person liable to the United States

 Government for three times the amount of damages which the Government sustains because of the

 act of that person, plus a civil penalty, for each instance in which the person “knowingly makes,

 uses, or causes to be made or used, a false record or statement material to a false or fraudulent

                                            Page 15 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 19 of 59 PageID #: 301



 claim.” Id. § 3729(a)(1)(B). The FCA, prior to the FERA amendments, provided that a person is

 liable to the United States Government for each instance in which the person “knowingly makes,

 uses, or causes to be made or used, a false record or statement to get a false or fraudulent claim paid

 or approved by the Government.” Id. § 3729(a)(2).

          72.    The FCA defines the terms “knowing” and “knowingly” to mean that a person, with

 respect to information: (1) “has actual knowledge of the information”; (2) “acts in deliberate

 ignorance of the truth or falsity of the information”; or (3) “acts in reckless disregard of the truth or

 falsity of the information.” Id. § 3729(b)(1)(A). The FCA further provides that “no proof of

 specific intent to defraud is required.” Id. § 3729(b)(1)(B).

 V.       THE AFFILIATED DEFENDANTS’ FRAUDULENT SCHEME

          73.    As alleged in detail below, based on commonality of ownership, common

 management, identity of interests and other relevant factors, Defendants are affiliated concerns and,

 when taken together, were at all times material hereto ineligible to receive loans under the PPP.

 According to their own certifications to the SBA, the Affiliated Defendants collectively have at least

 764 employees—far exceeding the 500-employee threshold required for eligibility to receive PPP

 loans.

      A.         OVERVIEW OF THE PRINCIPAL AFFILIATES

           74.   The affiliation between and among the Defendants is evidenced by how the entities

 were originally formed: by the same individuals, and at many of the same addresses. The significant

 overlap in the formation and subsequent operation of the Affiliated Defendants was the direct result

 of Defendant David B. Alvarez’s deliberate effort to consolidate his companies into one, self-

 proclaimed “8760 company”—a reference to the total number of hours in a year. Alvarez utilizes

 the “8760 company” motto as part of a marketing slogan to sell potential and current customers on

 the Affiliated Defendants’ ability to provide services to his clients 24 hours a day, 365 days a year.

                                             Page 16 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 20 of 59 PageID #: 302



 Behind the scenes, Alvarez manipulates the Affiliated Defendants as related, interchangeable

 pieces—stripped of any barriers that typically define distinct entities—to carry out his business

 dealings.

                1.     Defendant David B. Alvarez

        75.     Defendant David B. Alvarez is the current owner and President of Defendant Energy

 Transportation. Alvarez also founded Defendant ACS, Defendant ERG and Defendant ET360.

 Alvarez maintains ownership interests in all the Affiliated Defendants.

        76.     Alvarez manages and controls the operations of all the Affiliated Defendants. His

 various roles include Director of ACS, President of both ACS and Energy Transportation, and

 Manager of Bear Contracting.

                2.     Overview of Applied Construction Services, Inc.

        77.     ACS was incorporated on March 11, 1981. Its principal office address is 5338

 Shinnston Pike, Meadowbrook, WV 26404—the same address associated with Defendants Energy

 Transportation, ET360, and ERG. The mailing address for ACS is P.O. Box 430, Bridgeport, WV

 26330—the same address associated with Defendants Energy Transportation and ERG. The listed

 address on ACS’s PPP application is 1000 Jerry Dove Drive, Suite 200, Bridgeport, WV—the same

 address associated with Defendants Energy Transportation and ERG.

        78.     The Directors of ACS are Defendant David B. Alvarez and his brother Manuel

 Alvarez III. The President of ACS is Defendant David B. Alvarez. His brother Manuel Alvarez III

 also serves as the Treasurer and Vice President of ACS.

        79.     ACS’s services are classified under NAICS code 237990—Other Heavy and Civil

 Engineering Construction. The corresponding size standard for this NAICS code is $39.5 million in

 average annual receipts over the most recent three-year period. The combined average annual

 receipts for all the Affiliated Defendants over the most recent three-year period far exceed the

                                           Page 17 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 21 of 59 PageID #: 303



 revenue threshold for NAICS Code 237990. Accordingly, ACS was not a small business under its

 NAICS Code and thus ineligible to receive loan proceeds under the PPP.

         80.     Nor is ACS an eligible small business under the PPP. In its PPP Application, ACS

 represented that it had 210 employees, not including any affiliates. This statement was false because

 ACS, including its affiliates, had at least 764 employees.                    As the direct result of its

 misrepresentations regarding its size, ACS received $4,160,400.00 in PPP loan proceeds.

         81.     At the time ACS submitted its PPP application, which contained false certifications

 regarding its eligibility as a small business to receive PPP proceeds, the SBA had not issued any

 guidance regarding the applicability of the agency’s “alternative size standard.”3

                 3.       Overview of Energy Transportation, LLC

         82.     Energy Transportation was formed as an LLC on April 10, 2013. Its principal office

 address is 5338 Shinnston Pike, Meadowbrook, WV 26404—the same address associated with

 Defendants ACS, ET360, and ERG. The mailing address for Energy Transportation is P.O. Box

 430, Bridgeport, WV 26330—the same address associated with Defendants ACS and ERG. The

 Member and Organizer of Energy Transportation is Defendant David B. Alvarez.                         Defendant

 Alvarez also serves as the President of Energy Transportation.

         83.     Energy Transportation is a fully insured, licensed, U.S. Environmental Protection

 Agency and Department of Transportation-approved transporter of hazardous materials. Energy

 Transportation claims that its services are classified under NAICS code 486910—Pipeline

 Transportation of Refined Petroleum Products. However, Energy Transportation is not listed as one



 3
   According to subsequent guidance provided by the SBA, the “alternative size standard” originally
 promulgated in 2010 pursuant to the Small Business Jobs Act, and captured in 15 U.S.C. § 632, may also be
 used to determine if a business can qualify for SBA loans. Under the “alternative size standard”, if a business
 can show that its (i) maximum tangible net worth is not more than $15 million and (ii) average net income
 after Federal income taxes (excluding any carry-over losses) for the two full fiscal years before the date of the
 application is not more than $5 million, then it may qualify as a small business concern eligible to receive
 loans under the PPP, irrespective of its number of employees.
                                                Page 18 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 22 of 59 PageID #: 304



 of the nineteen verified, active companies under this NAICS Code. Rather, the corresponding size

 standard for Energy Transportation falls under NAICS 213122—Support Activities for Oil & Gas

 Operations, which has a $41.5 million threshold in average annual receipts over the most recent

 three-year period. The combined average annual receipts for all the Affiliated Defendants over the

 most recent three-year period far exceed the revenue threshold for NAICS Code 213122.

 Accordingly, Energy Transportation was not a small business under its NAICS Code and thus

 ineligible to receive loan proceeds under the PPP.

        84.     Nor is Energy Transportation an eligible small business under the PPP. In its PPP

 Application, Energy Transportation represented that it had 226 employees, not including any

 affiliates. This statement was false because Energy Transportation, including its affiliates, had at

 least 764 employees.     As the direct result of its misrepresentations regarding its size, Energy

 Transportation received $4,897,770.00 in PPP loan proceeds.

        85.     At the time Energy Transportation submitted its PPP application, which contained

 false certifications regarding its eligibility as a small business to receive PPP proceeds, the SBA had

 not issued any guidance regarding the applicability of the agency’s “alternative size standard.”

                4.      Overview of ET360, LLC

        86.     ET360 was formed as an LLC on March 17, 2016. Its principal office address is

 5338 Shinnston Pike, Meadowbrook, WV 26404—the same address associated with Defendants

 ACS, Energy Transportation, and ERG. The CFO of ET360 is Defendant Jason Henderson, who

 also originally organized Defendant ERG.

        87.     ET360 holds itself out as providing a full range of industrial construction, waste

 transportation, and emergency response services.      ET360’s services are classified under NAICS

 code 213112—Support Activities for Oil and Gas Operations. The corresponding size standard for

 this NAICS code is $41.5 million in average annual receipts over the most recent three-year period.

                                            Page 19 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 23 of 59 PageID #: 305



 The combined average annual receipts for all the Affiliated Defendants over the most recent three-

 year period far exceed the revenue threshold for NAICS Code 213112. Accordingly, ET360 was not

 a small business under its NAICS Code and thus ineligible to receive loan proceeds under the PPP.

        88.     Nor is ET360 an eligible small business under the PPP. In its PPP Application,

 ET360 represented that it had 178 employees, not including any affiliates. This statement was false

 because ET360, including its affiliates, had at least 764 employees. As the direct result of its

 misrepresentations regarding its size, ET360 received $2,378,200.00 in PPP loan proceeds.

        89.     At the time ET360 submitted its PPP application, which contained false certifications

 regarding its eligibility as a small business to receive PPP proceeds, the SBA had not issued any

 guidance regarding the applicability of the agency’s “alternative size standard.”

                5.     Overview of ERG, LLC

        90.     ERG was formed as an LLC on December 16, 2017. Its principal office address is

 5338 Shinnston Pike, Meadowbrook, WV 26404—the same address associated with Defendants

 ACS, Energy Transportation, and ET360.          The mailing address for ERG is P.O. Box 430,

 Bridgeport, WV 26330—the same address associated with Defendants ACS and Energy

 Transportation. The listed address for ERG in its PPP Application is 1000 Jerry Dove Drive, Suite

 200, Bridgeport, WV—the same address associated with Defendants ACS and Energy

 Transportation.

        91.     ERG was originally organized by Defendant Jason Henderson, who also serves as the

 Chief Financial Officer of Defendant ET360 and the de facto CFO of all the Affiliated Defendants.

        92.     ERG offers environmental containment services in the oil and gas industry. ERG’s

 services are classified under NAICS code 213112—Support Activities for Oil and Gas Operations.

 The corresponding size standard for this NAICS code is $41.5 million in average annual receipts

 over the most recent three-year period. The combined average annual receipts for all the Affiliated

                                            Page 20 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 24 of 59 PageID #: 306



 Defendants over the most recent three-year period far exceed the revenue threshold for NAICS Code

 213112. Accordingly, ERG was not a small business under its NAICS Code and thus ineligible to

 receive loan proceeds under the PPP.

        93.     Nor is ERG an eligible small business under the PPP. In its PPP Application, ERG

 represented that it had 76 employees, not including any affiliates. This statement was false because

 ERG, including its affiliates, had at least 764 employees.             As the direct result of its

 misrepresentations regarding its size, ERG received $606,600 in PPP loan proceeds.

        94.     At the time ERG submitted its PPP application, which contained false certifications

 regarding its eligibility as a small business to receive PPP proceeds, the SBA had not issued any

 guidance regarding the applicability of the agency’s “alternative size standard.”

                6.     Overview of Bear Contracting, LLC

        95.     Bear Contracting was formed as an LLC on March 30, 1998. Its principal office

 address is 1 Columbia Road, Clarksburg, WV 26301—the exact same address as Defendant Bear

 Utilities, LLC. The Managers of Bear Contracting include Manuel Alvarez, III (Defendant David B.

 Alvarez’s brother), and Defendant David B. Alvarez. Defendant David B. Alvarez is one of Bear

 Contracting’s principal partners and manager.

        96.     Bear Contracting offers heavy construction services for site development, the energy

 sector, and public infrastructure construction. Bear Contracting’s services are classified under

 NAICS code 238910—Site Preparation Contractors.            The corresponding size standard for this

 NAICS code is $16.5 million in average annual receipts over the most recent three-year period. The

 combined average annual receipts for all the Affiliated Defendants over the most recent three-year

 period far exceed the revenue threshold for NAICS Code 237990. Accordingly, Bear Contracting

 was not a small business under its NAICS Code and thus ineligible to receive loan proceeds under

 the PPP.

                                            Page 21 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 25 of 59 PageID #: 307



        97.     Nor is Bear Contracting an eligible small business under the PPP.           In its PPP

 Application, Bear Contracting represented that it had 67 employees, not including any affiliates.

 This statement was false because Bear Contracting, including its affiliates, had at least 764

 employees.    As the direct result of its misrepresentations regarding its size, Bear Contracting

 received $1,458,000.00 in PPP loan proceeds.

        98.     At the time Bear Contracting submitted its PPP application, which contained false

 certifications regarding its eligibility as a small business to receive PPP proceeds, the SBA had not

 issued any guidance regarding the applicability of the agency’s “alternative size standard.”

                7.      Overview of Bear Utilities, LLC

        99.     Bear Utilities was formed as an LLC on March 28, 2012. Its principal office address

 is 1 Columbia Road, Clarksburg, WV 26301—the exact same address as Defendant Bear

 Contracting, LLC. One of the organizers of Bear Utilities is Manuel Alvarez IV—Defendant David

 B. Alvarez’s nephew.

        100.    Bear Utilities offers residential construction services. Bear Utilities’ services are

 classified under NAICS code 236118—Residential Remodeler. The corresponding size standard for

 this NAICS code is $39.5 million in average annual receipts over the most recent three-year period.

 The combined average annual receipts for all the Affiliated Defendants over the most recent three-

 year period far exceed the revenue threshold for NAICS Code 236118. Accordingly, Bear Utilities

 was not a small business under its NAICS Code and thus ineligible to receive loan proceeds under

 the PPP.

        101.    Nor is Bear Utilities an eligible small business under the PPP.            In its PPP

 Application, Bear Utilities represented that it had 7 employees, not including any affiliates. This

 statement was false because Bear Utilities, including its affiliates, had at least 764 employees. As



                                            Page 22 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 26 of 59 PageID #: 308



 the direct result of its misrepresentations regarding its size, Bear Utilities received between

 $258,200.00 in PPP loan proceeds.

           102.   At the time Bear Utilities submitted its PPP application, which contained false

 certifications regarding its eligibility as a small business to receive PPP proceeds, the SBA had not

 issued any guidance regarding the applicability of the agency’s “alternative size standard.”

                  8.     Jason P. Henderson

           103.   While Jason Henderson holds the official title of Chief Financial Officer of

 Defendant Energy Transportation, behind the scenes Alvarez uses Henderson as a de facto CFO for

 all the Affiliated Defendants—a tactical decision that allows Alvarez to closely monitor and

 maintain tight control over the financial decisions affecting all the Affiliated Defendants.

      B.          DEFENDANTS ARE AFFILIATED FOR PURPOSES OF SBA LAWS AND REGULATIONS

                  1.     The Affiliated Defendants Share Common Ownership

           104.   Defendants share common ownership.           Specifically, at the time of its PPP

 applications and for at least a significant period thereafter, Alvarez maintained ownership and

 control of ACS, ERG, Energy Transportation, and ET360. See 13 C.F.R. § 121.103(a)(1) (common

 ownership occurs when one has the power to control the other).

           105.   Shortly after being incorporated in December 2017, ERG was in the process of

 securing suppliers, including Environmental Tank & Container (“ETC”). In an effort to establish

 creditworthiness, Defendant Henderson, on behalf of ERG, made the representation to ETC’s senior

 management that Defendant Alvarez was a major owner of ERG. This representation was made

 verbally to Bill Polacek (ETC’s Owner), Chris Rogers (ETC’s Director of Operations), and

 Christina Galasso (ETC’s Business Development executive).

        106.      Shortly before the Affiliated Defendants submitted their PPP applications, Alvarez

 also represented himself as the owner of Energy Transportation, ET360, and ERG to potential

                                             Page 23 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 27 of 59 PageID #: 309



 customers, including Gary Baxter, Director of Production Operations at EQT—the largest

 independent natural gas producer in North America.

        107.   ERG employees similarly understood that Alvarez owned ERG. Jason Richards, who

 was employed at ERG, was deposed on July 26, 2020 in an unrelated federal civil matter. Richards

 testified that David Alvarez and Jason Henderson owned ERG. Jacob Richards, who was also

 deposed on August 19, 2020 in an unrelated federal civil matter, testified that he “believe[s] that

 [Alvarez]’s the owner” of ERG. Meanwhile, Aaron Giles, another ERG employee who was deposed

 on September 24, 2019 in an unrelated federal civil matter, testified that Alvarez is “the owner, or

 partial owner, of Energy Resource Group.” Finally, Amanda Hunt, who was employed by ERG,

 was deposed on September 6, 2019 in an unrelated federal civil matter and testified that Alvarez

 “owns Energy Resources [sic] Group, ACS, ET.”

        108.   Alvarez’s ownership extends beyond ERG to ACS and Energy Transportation. For

 example, during his October 27, 2020 deposition in an unrelated federal civil matter, Defendant

 Alvarez testified about the purchase of containment tanks and was specifically asked “[y]ou said we

 bought some. I assume that’s one of your companies?” Defendant Alvarez replied that it was “either

 Applied Construction or maybe Energy Transportation,” acknowledging that he owned both ACS

 and Energy Transportation.

        109.   During this deposition, Defendant Alvarez was also asked about managers who had

 left ACS. He replied that they “were from the support company that I use.” Defendant Alvarez later

 explained that the support company was ET360, which “supported a lot with Applied Construction

 and/or Energy Transportation and such.”      When asked if ET360 was one of his companies,

 Defendant Alvarez replied that he “started it” with Defendant Henderson. According to Defendant

 Alvarez, Defendant Henderson later “took it over.”



                                           Page 24 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 28 of 59 PageID #: 310



        110.   But despite supposedly handing control of ET360 over to Henderson, Alvarez

 continued to claim ownership and maintain control over ET360. For example, on an ET360 credit

 application, dated January 11, 2019, to Phoenix Technology Services USA Inc, Defendant Alvarez

 listed himself—as opposed to Defendant Henderson—as the “Authorized Owner” of ET360.




        111.   Plainly, Alvarez continued to exert actual ownership and control over ET360 at a

 time when Henderson purportedly was fulfilling the same role.

               2.         The Affiliated Defendants Share Common Management

        112.   At the direction of Defendant Alvarez, there has been, and continues to be,

 substantial involvement by the same key management at the Affiliated Defendants, including

 Defendant Jason Henderson, who serves as the de facto CFO for all the Affiliated Defendants.

 Despite Henderson’s responsibilities, there was no question that Alvarez maintained the power to

 control the Affiliated Defendants and was the ultimate decisionmaker for any issues faced by the

 Affiliated Defendants.

        113.   For example, ET360’s internal organizational chart, last updated on April 4, 2020,

 identifies David Alvarez as the Chief Executive Officer and highest-ranking individual within the

 organization. In addition, Jason Henderson is listed as the President and second-highest ranking
                                         Page 25 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 29 of 59 PageID #: 311



 individual of ET360, and according to the organizational chart, reports directly to David Alvarez.

 The organizational chart was shared with ET360’s customers, including Jay Witt, Antero Resources’

 Director of Midstream Water Business.




        114.   At the same time Alvarez was managing ET360, he was fulfilling the same role for

 ERG. During his October 27, 2020 deposition in an unrelated federal civil matter, Defendant

 Alvarez was asked about a time when he had offered employment to a group of people he met in the

 parking lot of the Wonder Bar restaurant, which Defendant Alvarez owns. Amanda Hunt, an ERG

 employee, testified in her deposition in that same federal civil matter that Defendant Alvarez told

 this group of people that “he had jobs available for them if they wanted to come work [at ERG].”

 Defendant Alvarez testified that “ERG was hiring them” and that he had projects that were being


                                          Page 26 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 30 of 59 PageID #: 312



 subcontracted to ERG. Defendant Alvarez explained in his deposition that he was “supporting my

 CFO,” referring to Defendant Henderson.

        115.    As further evidence of Alvarez’s wide-ranging control over the Affiliated

 Defendants, Travis Knotts, the general manager for ET360 from June 2017 to June 2020, directly

 reported to David Alvarez, rather than Defendant Henderson. And, in the event of a disagreement

 between Knotts and Henderson on the day-to-day management of ET360, it was Alvarez who had

 the final say. In one instance, neither Knotts nor Henderson wanted to terminate a high-level ET360

 employee; however, Alvarez exercised his ultimate control over ET360-related matters and ordered

 the termination of the employee over Knotts’ and Henderson’s objections.

        116.    After Knotts left ET360 in June 2020, his ET360 phone number was reconfigured to

 automatically forward all calls to Alvarez, rather than Henderson. On at least two separate

 occasions, ET360 employees dialed Knott’s ET360 phone number, in attempts to reach Knotts, and

 Alvarez answered the phone both times.

        117.    The common management that Alvarez exercised over the Affiliated Defendants

 included, at his direction, the sharing of critical resources and personnel among the companies. If

 Energy Transportation had trucks that were not being used for Energy Transportation’s business,

 Alvarez would swap Department of Transportation stickers affixed to Energy Transportation trucks

 onto ET360 trucks that were performing the underlying services. The resource sharing among the

 Affiliated Defendants was premised on a “go along to get along” mantra where all of the entities

 were treated as if they were all one company even though they were not. This resource sharing is

 described in greater detail below. See infra Section V(B)(4).

        118.    Ultimately, the Affiliated Defendants—at Alvarez’s direction—would structure a

 Master Services Agreement (“MSA”) with a customer so that all services could be performed by the



                                            Page 27 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 31 of 59 PageID #: 313



 other Affiliated Defendants either directly as a listed entity or indirectly as a “sub-contractor” of the

 entity holding the MSA.

        119.    This was part of Alvarez’s larger plan to create a monopoly over trucking services in

 the area and prevent any other businesses from penetrating that market.

        120.    And while Alvarez directed some of the Affiliated Defendants to carry out tasks on

 behalf of the other Affiliated Defendants, Alvarez often did not require that the invoices for those

 services were accurately maintained or, ultimately, even paid. In fact, ET360 had substantial past-

 due balances owed to them by ACS, Energy Transportation, and ERG. ET360 was effectively

 funding the operations of these other affiliated entities with no expectation that the funding would be

 repaid. For example, during late 2019 and early 2020, ET360 had performed approximately

 $640,000 in services on behalf of ACS—including trucking, hauling and industrial cleaning—which

 was never paid, even though the rates had already been reduced well below market rate.

        121.    Similarly, ET360 was instructed to haul for ERG on numerous occasions, but ERG

 would not pay ET360’s invoices for these services.          Instead, the bills, which in this instance

 amounted to approximately $250,000, would stack up and go unpaid for long stretches of time.

        122.    Because Alvarez did not insist on reconciling past due accounts between the

 Affiliated Defendants—which is an uncommon practice between entirely distinct companies—some

 employees, despite Alvarez’s instructions, gave preference to third party vendors that would actually

 pay for services rendered in lieu of using one of the Affiliated Defendants.

        123.    Defendant Henderson, in his role as CFO of all the Affiliated Defendants, also

 exerted common management over these entities. As a specific example, on October 19, 2018,

 Henderson, in his capacity as the CFO of Energy Transportation and part owner of ERG, unilaterally

 directed ETC (a supplier of aboveground storage tanks) to change the “Bill To” field on a $1.3

 million invoice for aboveground storage tanks from ERG to Energy Transportation—a company

                                             Page 28 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 32 of 59 PageID #: 314



 owned and controlled by Alvarez. As captured in the screenshot below, Henderson ordered the

 billing change even though the storage tanks were actually shipped to and used by ERG.4

 Henderson’s decision to have Energy Transportation pay for ERG’s storage tanks was noteworthy

 because Energy Transportation was not, and has never been, in the business of installing or renting

 aboveground storage tanks. Following fulfillment of the order to ERG, ETC filed liens on the tanks,

 naming Energy Transportation as the debtor.




 4
   While the original invoices are dated July 31, 2018, ETC did not revise them—per Henderson’s direction—
 to make Energy Transportation the payor until October 19, 2018.
                                             Page 29 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 33 of 59 PageID #: 315




        124.   At the end of each year, Alvarez held a business review meeting that was attended by

 all of the general managers from each of the Affiliated Defendants. These annual meetings also

 included team-building exercises between the companies. Alvarez and his daughter Andria Alvarez

 Wymer, who served as the director of business development for all the Affiliated Defendants, would
                                          Page 30 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 34 of 59 PageID #: 316



 run these annual meetings. The first of these meetings took place at the offices of Defendant Bear

 Contracting. The second annual meeting was conducted at the building located on Jerry Dove

 Drive, which previously housed most of the Affiliated Defendants.

        125.    During these meetings, each general manager would provide a business update to the

 entire group, complete with strategic goals, financial objectives, and initiatives for the following

 year. The sharing of these goals and initiatives, which were really set by Alvarez and Jason

 Henderson, further betrayed the affiliated nature of the companies.       Specifically, some of the

 Affiliated Defendants would be considered “competitors” absent Alvarez’s control. For example,

 ET360’s trucking services overlapped with Energy Transportation’s same work in that area.

 Further, the industrial cleaning and pipeline work offered by ET360 mirrored those same services

 provided by ACS.

        126.    True competitors that do not share common ownership or management hardly have

 annual meetings in which they reveal their finances or internal business plans to each other; yet the

 Affiliated Defendants openly did so—all at Alvarez’s direction.

                3.         The Affiliated Defendants Cross-Sell Their Various Services

        127.    Defendant Alvarez’s control over the Affiliated Defendants allows him to cross-sell

 their various services.

        128.    In many of his dealings with existing and potential customers, Defendant Alvarez

 represents himself as the owner of Defendants ACS, Energy Transportation, ET360 and ERG.

 Alvarez also actively solicits work from customers on behalf of all four companies.

        129.    In fact, Alvarez generates proposals that include services from all four of the

 Affiliated Defendants that often references the “8760 Solution.” According to the website for

 Energy Transportation, “8760 is the number of hours in a year and represents our commitment to



                                             Page 31 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 35 of 59 PageID #: 317



 safety, training and service. To execute on our mantra ‘The 8760 Solution,’ we continuously work to

 build upon our culture, which is centered around this philosophy.”

         130.    As part of these customer presentations, Alvarez and Jason Henderson would explain

 the various services offered by the Affiliated Defendants. It was a show of force by Alvarez to let

 the customers know that the Affiliated Defendants could address any needs the customer might

 have.

         131.    In PowerPoint presentations, Alvarez touts the 8760 Solution as a way to offer

 “additional cost savings” to potential customers if they agree to use the services offered by

 Alvarez’s “other related companies.” Discounts were often offered to customers if they used an

 affiliated entity.

         132.    Alvarez provided such a presentation to Gary Baxter, the Director of Production

 Operations at EQT—then a potential customer for the Affiliated Defendants. The presentation,

 given to Baxter in the form of a PowerPoint slide deck dated July 30, 2019, demonstrated the

 Affiliated Defendants’ shared services and locations. The presentation connected the services of

 Energy Transportation with both ET360 and ERG.




                                           Page 32 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 36 of 59 PageID #: 318



        133.   Specifically, slide 5 of the presentation uses the Affiliated Defendants’ self-

 proclaimed slogan of “8760” and explicitly maps and labels the Energy Transportation and ERG

 locations in relation to EQT’s well-pads. Notably, several of the locations labeled as “ET” are

 actually ET360 locations. For example, the location identified in the presentation as an Energy

 Transportation site near Norwich, Ohio is actually an ET360 yard.




        134.   While this deck was provided to Baxter by Energy Transportation, slide 6 (titled

 “Additional Cost Savings through other Related Companies”) lists specific containment materials

 and material cost savings available to EQT through an “other related company,” which refers to

 items specifically offered by ERG. And slides 7 and 9 of the Energy Transportation PowerPoint

 boast savings available through services provided by ERG, which is again explicitly referred to as a

 “related company” and part of the “8760 package.”


                                           Page 33 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 37 of 59 PageID #: 319



        135.    The PowerPoint’s description of the Affiliated Defendants as “related companies”

 was consistent with Baxter’s other business interactions with Alvarez, who represented himself as

 the owner of Energy Transportation, ET360, and ERG.

        136.    At   Alvarez’s    direction,    Kim    Sinnett   (Business   Development   at   Energy

 Transportation) was instructed to “piggy back” connections established by ET360 to push use of

 Energy Transportation’s trucks as well. The rationale was that Energy Transportation could be

 brought in to support an ET360 project in the event ET360 was ever short on trucks or otherwise

 needed equipment or personnel.

        137.    Alvarez also directed that ET360 cross-sell Defendant ERG’s services to ET360’s

 existing customer base. It was not uncommon for Alvarez to coordinate client meetings that were

 attended by representatives from ET360, Rick Richards from ERG, and Kim Sinnett from Energy

 Transportation in a coordinated effort to collectively sell the three companies’ services. In other

 meetings, Alvarez and Defendant Jason Henderson personally participated in cross-selling meetings

 involving services offered by Defendants ERG and ACS services, while senior management

 presented cross-selling opportunities between ET360 and Energy Transportation.

        138.    Importantly, Alvarez provided ET360 with a copy of ERG’s full rate sheet—a highly

 confidential document containing valuable trade secret information that is not often shared even

 within the same company—to support the cross-selling among the Affiliated Defendants.

        139.    Per Alvarez’s design, cross-selling among the Affiliated Defendants allowed those

 companies with fewer resources and personnel to secure opportunities otherwise unavailable to

 them. For example, if ET360 was having a difficult time getting a customer to agree to use ET360’s

 water trucks, ET360 would use ACS’s or ERG’s existing service agreements as a “pry-bar” to get

 access to the opportunity.



                                               Page 34 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 38 of 59 PageID #: 320



         140.      During his September 4, 2020 deposition in an unrelated federal civil matter, Rick

 Richards, who at the time served as an ERG manager, explained how Alvarez and Henderson had

 set up ERG as a “shell company.” Richards testified that when he joined ERG in May 2018, ERG

 was a non-operating entity with no employees. Though it essentially existed only on paper, ERG

 managed to secure a Master Service Agreement (“MSA”) with EQT. Without Alvarez’s ability to

 cross-sell capabilities among the Affiliated Defendants, ERG would not have been able to secure an

 MSA, given that it had no operations, employees, or historical safety records.

         141.      Ultimately, the extent to which the Affiliated Defendants engage in cobranding and

 refer to themselves as “affiliates” is further evidence that Defendant Alvarez controls and manages

 these entities.

                   4.     The Affiliated Defendants Share Critical Resources, Personnel, and
                          Finances

                          a.     Physical Office Space

         142.      In early 2020, Alvarez consolidated the headquarters for the Affiliated Defendants in

 a building he previously owned, which is located at 5338 Shinnston Pike in Meadowbrook, West

 Virginia. This was part of a larger plan by Alvarez to consolidate and streamline all operations of

 the Affiliated Defendants.

         143.      Within the physical office building itself, employees with Defendants ACS, Energy

 Transportation, ERG, and ET360 all shared the same office space. Up until early 2020, Defendant

 Alvarez had office space at 1000 Jerry Dove Drive where he and the Affiliated Defendants’

 accounting, information technology, human resources, and other back-office employees worked.

 These back-office employees routinely performed work across the various entities.

         144.      In early 2020, David Alvarez exited the office space on Jerry Dove Drive and

 relocated the Affiliated Defendants’ back-office employees to the building at 5338 Shinnston Pike.


                                             Page 35 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 39 of 59 PageID #: 321



 At this location, there is no formal separation among the companies and employees from the various

 entities are free to move in and out of the office space.

                        b.      Management Personnel and Resources

        145.    Within this building complex, the Affiliated Defendants share both personnel and

 critical resources to run their operations. Specifically, the Affiliated Defendants share information

 technology, human resources, business development, marketing, billing, and invoicing services.

        146.    For example, and as previously stated, Alvarez’s daughter Andria serves as the

 Business Development Director for all the Affiliated Defendants.

        147.    The Affiliated Defendants also shared the same Human Resources Director, Beth

 Nuzzum, who would often send mass emails to employees for all the different companies. These

 emails outlined the Affiliated Defendants’ policies specifically related to COVID-19.

        148.    The Affiliated Entities also shared their health insurance plans for their employees,

 even though each company was purportedly a separate business entity.             And the Affiliated

 Defendants consolidated the renewals for these health plans through Kitty Blackwood, who was an

 ET360 employee.       Specifically, these insurance renewals were streamlined for both Energy

 Transportation and ET360.

        149.    The Affiliated Defendants all share the same information technology services.

 Defendant Alvarez tasked a single employee with overseeing the information technology needs of

 all the Affiliated Defendants. The information technology manager, who was hired by Alvarez,

 manages all issues related to the computers and phones utilized by the Affiliated Defendants.

 Beyond sharing the same IT support services, the Affiliated Defendants all use the exact same Box

 cloud sharing platform to facilitate their operations—a sharing of document management systems

 that unaffiliated entities would not contemplate.



                                             Page 36 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 40 of 59 PageID #: 322



        150.   When the accounting for all the Affiliated Defendants was consolidated at the

 Shinnston Pike address in early 2020, Defendant Jason Henderson was tasked with overseeing the

 accounting operations for all the companies.

        151.   Further, all major capital expenditures for the Affiliated Defendants had to be

 approved by either Defendant Alvarez or Jason Henderson. A capital request form from any one of

 the Affiliated Defendants was required to be submitted to Alvarez and Henderson for their approval.

        152.   The Affiliated Entities also shared cash management. For example, Ernie Rush, a

 previous ET360 employee, complained about not receiving a bonus that was promised to him.

 Shortly thereafter, Defendant Henderson handed Rush a $500 bonus check from ERG (not ET360).

        153.   The hiring and onboarding of new employees for the Affiliated Defendants is also a

 shared exercise. For example, ERG conducts safety performance reviews of new employees hired

 by the company. However, ERG actually uses personnel from Energy Transportation, who use an

 Energy Transportation (“@et8760.com”) email address, to perform the safety review functions.

                       c.     Employees and Equipment

        154.   Once hired, employees were frequently shared between the Affiliated Defendants.

 ET360 regularly provided employees and equipment to the other Affiliated Defendants, including

 helping Energy Transportation with industrial cleaning, assisting ACS with slip repairs, and

 supporting ERG with containment services.

        155.   John Henderson, who was an ET360 employee, operated the equipment yard, which

 was shared across Energy Transportation, ET360, ACS, and ERG. Whenever someone from the

 Affiliated Defendants needed certain equipment, they would call John Henderson from ET360 who

 would facilitate the request, often without accounting for the costs associated with using the

 equipment—an accounting omission that one would not expect from separate and distinct

 companies.

                                           Page 37 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 41 of 59 PageID #: 323



        156.    Energy Transportation and ET360—two entities that would be considered

 competitors absent affiliation—frequently shared water-hauling trucks and drivers. If ET360 needed

 water trucks or drivers, the company would simply call Energy Transportation.        Similarly, if

 customers called Energy Transportation for water trucks and Energy Transportation was out of

 stock, the representative from Energy Transportation would simply dispatch ET360’s water trucks to

 the customer instead.

        157.    As an example, Eric Reed, an ET360 employee, provided water hauling services for

 an ET360 customer using both an ET360 truck and an Energy Transportation truck in the same

 week. Reed’s associated work orders, which were submitted to the customer, sometimes listed

 ET360 as the service provider while other times “Energy Transportation LLC” was used. Reed

 subsequently recorded his hours from those work orders on his ET360 timesheet and was, upon

 information and belief, paid by ET360 despite some of the services being rendered under ET’s name

 using ET’s assets.

        158.    According to former ET360 employees, the sharing of trucks and drivers among the

 Affiliated Defendants was commonplace. In fact, Alvarez once required ET360 to cover extra shifts

 for ET’s work, even though doing so put ET360’s drivers out of compliance with Department of

 Transportation regulations. For instance, ET360’s Antero Disposal tickets show that both ET360 and

 Energy Transportation trucks were used to perform work for Antero. According to these tickets, the

 same employee would drive an ET360 truck one day, and then an Energy Transportation truck the

 next day while working on the same project.

        159.    The Affiliated Entities also share Health, Safety, and Environmental (HSE)

 personnel, which is a critical function in the oil and gas industry.    As an example, when a

 prospective employee for a position at ERG contacted the company, Jon Cline—an HSE employee

 with ET—would send a “Safety Performance History Records Request” form to the individual’s

                                          Page 38 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 42 of 59 PageID #: 324



 predecessor employers. Although these request forms listed ERG as the prospective employer, these

 forms had a return address of “ATTN: Jon Ellen Cline, Energy Transportation LLC, PO Box 430,

 Bridgeport, WV 26330.” Cline also provided an Energy Transportation fax number and email

 address as jcline@et8760.com.




        160.   Of particular note, these forms provided the social security numbers and requested

 confidential information from the predecessor employers regarding the prospective employees.

 Furthermore, these forms stated the information was being requested in compliance with §40.25(g)

                                         Page 39 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 43 of 59 PageID #: 325



 and 391.23(h), which generally (among other things) requires a prospective employer to inquire

 about a prospective employee’s past driving performance and any drug and alcohol violations from

 his or her previous employers. Ultimately, Energy Transportation and ERG were freely sharing

 prospective employees’ social security numbers and other confidential information.




                                          Page 40 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 44 of 59 PageID #: 326



        161.    The Affiliated Defendants also celebrate as one company. Specifically, Alvarez

 invites certain employees from all the Affiliated Defendants to attend an annual holiday party that

 Alvarez hosts at Wonder Bar.5

        162.    The manner in which the Affiliated Defendants are owned, managed, and share

 resources and personnel further confirms that they are affiliates under SBA rules and regulations.

      C.        DEFENDANTS INTENTIONALLY CONCEALED PLANS TO SHUT DOWN AND SELL
                SOME OF THE AFFILIATED DEFENDANTS BEFORE APPLYING FOR PPP LOANS

        163.    In order to obtain a PPP loan, a qualifying business must submit a PPP loan

 application, which is signed by an authorized representative of the business.              The PPP loan

 application requires the business (through its authorized representative) to acknowledge the program

 rules and make certain affirmative certifications to be eligible to obtain the PPP loan.

        164.    In the PPP loan application, the small business (through its authorized representative)

 must state, among other things, its: (a) average monthly payroll expenses; and (b) number of

 employees. These figures are used to calculate the amount of money the small business is eligible to

 receive under the PPP. In addition, businesses applying for a PPP loan must provide documentation

 showing their payroll expenses.

        165.    A PPP loan application must be processed by a participating financial institution (i.e.,

 the lender). If a PPP loan application is approved, the lender funds the PPP loan using its own

 monies, which are 100% guaranteed by the SBA. Data from the application, including information

 about the borrower, the total amount of the loan, and the listed number of employees, is transmitted

 by the lender to the SBA in the course of processing the loan.




 5
  Defendant Alvarez is a principal partner of The Wonder Bar WV—a restaurant and bar located in
 Clarksburg, West Virginia. The Wonder Bar also shares the same address associated with
 Defendant ACS and received two PPP loans totaling $439,904.00.
                                          Page 41 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 45 of 59 PageID #: 327



        166.    PPP loan proceeds must be used by the business on certain permissible expenses such

 as payroll costs, interest on mortgages, rent, and utilities. The PPP allows the interest and principal

 on the PPP loan to be entirely forgiven if the business spends the loan proceeds on these expense

 items within a designated period of time after receiving the proceeds and uses a certain amount of

 the PPP loan proceeds on payroll expenses.

        167.    Not only were the Affiliated Defendants ineligible to receive PPP proceeds, but

 Defendant Alvarez had also finalized plans to shutter at least one of the Affiliated Defendants

 around the same time he was applying for the federal funds.

        168.    In early April 2020, Alvarez convened a meeting among senior personnel from

 Defendants ACS, Energy Transportation, and ET360. The meeting took place at 1000 Jerry Dove

 Drive. In attendance were Travis Knotts (ET360 General Manager), Kevin Murphy (ET360 Water

 Truck Pusher), Kim Posey (Vice President, Energy Transportation), David Swiger (Hazmat Truck

 Pusher at Energy Transportation), Jodi Davis (Water Truck Pusher at Energy Transportation), Billy

 Martin (ACS General Manager), Andria Alvarez Wymer, Jason Henderson and David Alvarez.

        169.    At this meeting, Alvarez explained the plan to wind up ET360’s business entirely.

 Alvarez directed that ET360’s trucking services be transferred to Energy Transportation’s

 operations, while ET360’s industrial and other non-trucking services be moved to ACS. Based on

 the timing of this meeting in relation to ET360’s PPP application, Alvarez had made the decision to

 dissolve ET360 before applying for PPP proceeds on behalf of the very same business.

        170.    Leading up to this meeting, in response to questions raised by David Alvarez

 regarding ET360’s overall profitability, Travis Knotts (ET360 General Manager) prepared and

 discussed with Alvarez the schedule shown below. The schedule outlines the costs that Alvarez had

 directed be absorbed by ET360 without plans to compensate the company for services actually

 performed.

                                            Page 42 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 46 of 59 PageID #: 328




        171.   Importantly, two items further demonstrate Alvarez’s control over ET360. First, the

 “ACS Owes” entry reveals the total accounts receivable owed to ET360 by ACS for which ET360

 was not collecting in the normal course of business. Second, the “Free Work” entry refers to months

 of free dump truck services performed by ET360 for West Virginia University, where Alvarez was

 serving as Chairman of the Board of Governors at the time. Henderson, the purported owner of

 ET360, neither went to WVU nor sat on the Board of Governors.

      D.       THE ALTERNATIVE SIZE TEST DOES NOT APPLY

        172.   The SBA first published its “Paycheck Protection Program Loans Frequently Asked

 Questions (FAQs)” (“PPP FAQs”) on April 6, 2020. The PPP FAQs state that even if a business has

 more than 500 employees, it can still qualify for the Paycheck Protection Program as a small

 business concern if it met both tests in SBA’s “alternative size standard” as of March 27, 2020: (1)

 maximum tangible net worth of the business is not more than $15 million; and (2) the average net


                                           Page 43 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 47 of 59 PageID #: 329



 income after Federal income taxes (excluding any carry-over losses) of the business for the two full

 fiscal years before the date of the application is not more than $5 million.

        173.    All the Affiliated Defendants submitted their PPP applications before the PPP FAQs

 were first published on April 6, 2020. Thus, at the time Defendants falsely certified their eligibility

 as small businesses to receive PPP loan proceeds, the SBA had not issued any guidance regarding

 the applicability of the agency’s “alternative size standard.”

        174.    Regardless, the Affiliated Defendants do not qualify as small businesses under the

 alternative size test.   The Affiliated Defendants operate capital intensive businesses requiring

 investments in numerous pieces of heavy equipment such as excavators, water trucks, and large

 storage tanks. The NAICS Codes the Affiliated Defendants are classified under give a sense of how

 large such companies in the oil and gas space are. For example, the corresponding size standard for

 NAICS code 237990—Other Heavy and Civil Engineering Construction—is $39.5 million in

 average annual receipts over the most recent three-year period. The corresponding size standard for

 NAICS code 213122—Support Activities for Oil & Gas Operations—is a $41.5 million threshold in

 average annual receipts over the most recent three-year period.

        175.    Relators estimate that the Affiliated Defendants had approximately $30,000,000 in

 accumulated business assets at the time they submitted their PPP applications. Furthermore, Relators

 estimate that the Affiliated Defendants employed approximately 800 people with an annual payroll

 of about $73,000,000.

        176.    Given that the Affiliated Defendants had approximately $30 million in assets and a

 workforce of nearly 800 employees with approximately $75 million in annual payroll costs in March

 2020, the Affiliated Defendants had a maximum tangible net worth well exceeding $15 million.

 Thus, even if the alternative size test applies (which it does not), the Affiliated Defendants would

 not qualify.

                                             Page 44 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 48 of 59 PageID #: 330



 VI.    THE AFFILIATED DEFENDANTS INTENTIONALLY MISREPRESENTED
        THEIR SIZE STATUS

        177.    In addition to the certifications the Affiliated Defendants made regarding each PPP

 Application, they did so subject to and under the terms of their certifications to the United States that

 they were small businesses that were eligible to participate in the PPP.

        178.    As a result of the Affiliated Defendants’ misconduct, all their PPP Applications

 submitted with such false certifications constituted false claims that the Government should not and

 would not have paid.

        179.    As a result of the Affiliated Defendants’ false and/or fraudulent representations and

 conduct in securing small business PPP loans, and the Government’s reliance thereon, the

 Government was falsely and/or fraudulently induced to enter into and accept contract and terms and

 conditions to which it would not have agreed had it known the truth. Because the Government was

 falsely and/or fraudulently induced to approve the small business PPP loans with the Affiliated

 Defendants, each claim for payment under these applications was a false and/or fraudulent claim.

 The claims submitted and caused to be submitted by the Affiliated Defendants were also false and/or

 fraudulent because the Affiliated Defendants knowingly failed to abide by their obligations under

 the law.

 VII.   THE AFFILIATED DEFENDANTS CONSPIRED WITH                                        OTHER
        AFFILIATED ENTITIES TO DEFRAUD THE UNITED STATES

        180.    As alleged in this Amended Complaint, one facet of the Affiliated Defendants’

 scheme involved one or more plans with other entities to further the overall fraudulent

 representations of the Affiliated Defendants’ size through a pattern and practice of false and

 misleading representations (“overt acts”).




                                              Page 45 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 49 of 59 PageID #: 331



        181.    As alleged in this Amended Complaint, the Affiliated Defendants’ senior executives,

 including Defendants Alvarez and Henderson, directed their employees to gain the agreement of

 each of these entities to conceal the affiliation among the Affiliated Defendants.

        182.    As a result of these overt acts, the SBA made payments to the Affiliated Defendants

 under the PPP that Defendants were ineligible to receive. Besides Defendants, the Co-Conspirators

 include numerous other related entities through which the Affiliated Defendants have conducted

 their fraudulent scheme.

        183.    Enviro Energy Solutions, LLC (“EES”) is a West Virginia limited liability company

 registered on April 7, 2017 with a principal office at 1000 Jerry Dove Drive, Bridgeport, West

 Virginia 26330. This address is also the principal place of business as Defendants ACS, Energy

 Transportation and ERG. The company’s organizer is Defendant Jason Henderson and Defendant

 Alvarez is listed as a member. Defendant Henderson also maintains an ownership interest in EES.

 It is not known whether EES applied for or received loan proceeds through the PPP.

        184.    Alvarez Farms, LLC is a West Virginia limited liability company registered on

 November 2, 2006 with a principal office at 813 Birch Street, Bridgeport, West Virginia 26330. One

 of the three company’s organizers is Defendant Alvarez. Defendant Alvarez also maintains an

 ownership interest in Alvarez Farms. It is not known whether Alvarez Farms applied for or received

 loan proceeds through the PPP.

        185.    Applied Home Solutions, LLC is a West Virginia limited liability company registered

 on November 16, 2016 with a principal office at 1012 Wonderbar Road, Clarksburg, West Virginia

 26301, which is the same address associated with co-conspirators Play Therapy Aviation, Rich

 Mountain Holdings, Energy Logistics Solutions, and Energy Liquid Solutions. The company’s

 organizer is Defendant Alvarez. Defendants Alvarez and Henderson maintain ownership interests in



                                            Page 46 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 50 of 59 PageID #: 332



 Applied Home Solutions. Applied Home Solutions a received $37,100 in loan proceeds through the

 PPP.

        186.   Buffalo Lake Development, LLC is a West Virginia limited liability company

 registered on January 29, 2003 with a principal office at 363 Washington Avenue, Clarksburg, West

 Virginia 26301. The company’s organizers are Defendant Alvarez and David J. Romano. It is not

 known whether Buffalo Lake Development applied for or received loan proceeds through the PPP.

        187.   LIG, LLC is a West Virginia limited liability company registered on November 10,

 2010 with a principal office at 446 Locust Drive, Bridgeport, West Virginia 26330. This address is

 also the current address of other Affiliated Defendants, including Defendant Alvarez.         The

 company’s organizer is Gregory A. Morgan and Kim Alvarez is listed as a manager. It is not known

 whether LIG applied for or received loan proceeds through the PPP.

        188.   GPO Energy, LLC is a West Virginia limited liability company registered on

 November 8, 2013 with a principal office at 1737 Johnson Creek, Walton, West Virginia 25286.

 The company’s organizers include Defendant Energy Transportation, which is 100% owned by

 Defendant Alvarez. It is not known whether GPO Energy applied for or received loan proceeds

 through the PPP.

        189.   Park Properties, LLC is a West Virginia limited liability company registered on

 January 30, 2012 with a principal office at 200 Ferry Street, Clarksburg, West Virginia 26301. The

 company’s organizer is Vincent F. D’Annunzio, who is a cousin of Defendant Alvarez. It is not

 known whether Park Properties applied for or received loan proceeds through the PPP.

        190.   Play Therapy Aviation, LLC is a West Virginia limited liability company registered

 on January 3, 2019 with a principal office at 1012 Wonderbar Road, Clarksburg, West Virginia

 26301, which is the same address associated with co-conspirators Applied Home Solutions, Rich

 Mountain Holdings, Energy Logistics Solutions, and Energy Liquid Solutions. The company’s

                                          Page 47 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 51 of 59 PageID #: 333



 manager is Defendant Alvarez. It is not known whether Play Therapy Aviation applied for or

 received loan proceeds through the PPP.

          191.   Rich Mountain Holdings, LLC is a West Virginia limited liability company registered

 on June 2, 2017 with a principal office at 1012 Wonderbar Road, Clarksburg, West Virginia 26301,

 which is the same address associated with co-conspirators Applied Home Solutions, Play Therapy

 Aviation, Energy Logistics Solutions, and Energy Liquid Solutions. The company’s organizer is

 James V. Cann and Defendant Alvarez is listed as a member. It is not known whether Rich

 Mountain Holdings applied for or received loan proceeds through the PPP.

          192.   The Johnson Place, LLC is a West Virginia limited liability company registered on

 August 5, 1996, with a principal office at 813 Birch Street, Bridgeport, West Virginia 26330. The

 company’s organizers are Defendant Alvarez and Manuel Alvarez, III. It is not known whether The

 Johnson Place applied for or received loan proceeds through the PPP.

          193.   WWYD, LLC is a West Virginia limited liability company registered on October 16,

 2013, with a principal office at P.O. Box 430, Bridgeport, West Virginia 26330. The designated

 office address is 446 Locust Road, Bridgeport, West Virginia 26330. This address is also the current

 address of Defendant Alvarez. The company’s organizer is Gregory A. Morgan and Defendant

 Alvarez is listed as a manager. It is not known whether WWYD applied for or received loan

 proceeds through the PPP.

          194.   Advantage Consulting, LLC is a West Virginia limited liability company registered

 on November 27, 2018, with a principal office at 8270 Cottonwood Lane, Stonewood, West Virginia

 26301.    The company’s organizer is Jason Henderson.        It is not known whether Advantage

 Consulting applied for or received loan proceeds through the PPP.

          195.   Energy Logistics Solutions, LLC is a West Virginia limited liability company

 registered on December 27, 2018, with a principal office at 1012 Wonderbar Road, Clarksburg,

                                           Page 48 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 52 of 59 PageID #: 334



 West Virginia 26301, which is the same address associated with co-conspirators Applied Home

 Solutions, Play Therapy Aviation, Rich Mountain Holdings, and Energy Liquid Solutions. The

 company’s organizer and manager is Jason Henderson. It is not known whether Energy Logistics

 Solutions applied for or received loan proceeds through the PPP.

        196.    Energy Liquid Solutions, LLC is a West Virginia limited liability company registered

 on February 1, 2019, with a principal office at 1012 Wonderbar Road, Clarksburg, West Virginia

 26301, which is the same address associated with co-conspirators Applied Home Solutions, Play

 Therapy Aviation, Rich Mountain Holdings, and Energy Logistics Solutions.           The company’s

 organizer is Defendant Alvarez. It is not known whether Energy Liquid Solutions applied for or

 received loan proceeds through the PPP.

        197.    The Affiliated Defendants and its co-conspirators shared in the conspiratorial

 objective to deceive the United States concerning the number of employees they had, and further

 agreed and intended to each perform and to each benefit from these unlawful overt acts in

 furtherance of Defendants’ scheme to target and financially injure Government Programs.

 Accordingly, the Affiliated Defendants and the co-conspirators entered into these unlawful financial

 relationships for the purpose of Defendants’ planned scheme to target Government Programs and

 submit or cause the submission of false or fraudulent claims and records.

        198.    As described in this Amended Complaint, Defendants intentionally conspired with

 one or more of these affiliated entities to get a false or fraudulent claims allowed or paid by the

 United States; one or more of these conspirators performed one or more overt acts to effect the

 object of the conspiracy; and Government Programs suffered damages as a result of the false or

 fraudulent claims.

        199.    Through the acts and omissions described in this Amended Complaint, Defendants,

 with each other and with affiliated entities known and unknown, knowingly agreed and conspired to

                                           Page 49 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 53 of 59 PageID #: 335



 defraud the Government by having false or fraudulent statements, records, and certifications

 submitted to, paid and approved by Government officials, their contractors, intermediaries and/or

 their agents.

        200.     By virtue of their conspiratorial agreement, Defendants caused to be presented, made

 and/or used false records or statements, including size status certifications to Government, causing

 the United States to suffer significant damages.

 VIII. THE AFFILIATED DEFENDANTS’ FRAUDULENT SUBMISSION OF
       FALSE CLAIMS TO FEDERAL PROGRAMS

        201.     The Affiliated Defendants submitted numerous false claims to the Government in the

 form of PPP Applications, which certified that the Affiliated Defendants were legitimate small

 business concerns when they sought loan proceeds through the PPP.

        202.     The Affiliated Defendants’ fraudulent scheme served its intended purpose, as they

 induced the SBA to approve and distribute loan proceeds to the Affiliated Defendants under the

 PPP.    In doing so, the Affiliated Defendants submitted false claims in the form of false

 certifications, which misrepresented the true size of their businesses and resulted in millions of

 dollars in improper payments by the SBA and the Treasury.

        203.     The Affiliated Defendants’ intentional misrepresentations regarding their size as

 small, which were contained in its certifications submitted to Government Programs, were false

 within the meaning of the federal False Claims Act.

        204.     Claims for payments submitted to Government Programs, in part or in whole, which

 were the result of the Affiliated Defendants’ misrepresentations regarding their size as small, were

 false within the meaning of the federal False Claims Act.

        205.     The Affiliated Defendants’ misrepresentations regarding their size as small caused

 them to be approved loans which were void ab initio and caused the submission of claims for

 payment that were false when made.
                                            Page 50 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 54 of 59 PageID #: 336



        206.    The Affiliated Defendants’ misrepresentations regarding their size as small were

 made knowingly and with the intent to cause the submission of false claims to Government

 Programs.

        207.    Government Programs provided loan proceeds to the Affiliated Defendants under the

 PPP based on Defendants’ false claims, and as a result have incurred and continue to incur

 significant damages due to Defendants’ intentional misrepresentations regarding their size as small.

        208.    By falsely certifying its eligibility to participate in the PPP and causing subsequent

 claims for loan proceeds to be made that the Affiliated Defendants knew were ineligible for payment

 by the SBA, the Affiliated Defendants also made, used, or caused to be made or used, false records

 or statements material to false or fraudulent claims, as described herein.

 IX.    SYSTEMIC DAMAGES CAUSED BY SMALL BUSINESS
        MISREPRESENTATION FRAUD

        209.    Firms that misrepresent their small business status to secure awards intended for

 eligible small businesses create severe harm to the country in a number of respects. Most apparent,

 the misrepresentation harms legitimate small businesses because it denies them the opportunity to

 secure much needed financial assistance during COVID-19.             The Affiliated Defendants have

 directly harmed hundreds if not thousands of legitimate small businesses who were entitled to, but

 may not have, received PPP loan proceeds but for the unclean hands of the Affiliated Defendants.

        210.    The Affiliated Defendants’ misrepresentations also undermine the public’s

 confidence in the integrity of the government programs designed to provide assistance to small

 businesses during times of crises.




                                            Page 51 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 55 of 59 PageID #: 337



                                                COUNT I
                        (Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(A))6

         211.    Relators reallege and incorporate by reference the allegations made in the preceding

 paragraphs of this Amended Complaint as though fully set forth herein.

         212.    This is a claim for treble damages and forfeitures under the False Claims Act, 31

 U.S.C. §§ 3729, et seq. as mended.

         213.    Through the acts described above, the Affiliated Defendants and their agents and

 employees knowingly misrepresented submitted or caused to be submitted to the United States

 Government knowingly false or fraudulent claims for PPP loan proceeds.

         214.    As alleged herein, the Affiliated Defendants’ representations to the United States

 were knowingly false. By engaging in the conduct described herein, the Affiliated Defendants

 knowingly submitted, or caused to be submitted, false claims for payment to the United States in

 violation of 31 U.S.C. § 3729(a)(1)(A).

         215.    Through the acts described above, the Affiliated Defendants and their agents and

 employees knowingly made, used or caused to be made or used false statements and records to get

 such false and fraudulent claims paid and approved by the United States Government.

         216.    The United States, unaware of the falsity of the records, statements and claims made

 by the Affiliated Defendants, paid the Affiliated Defendants for claims that would otherwise not

 have been allowed.

         217.    By reason of the Affiliated Defendants’ false records, statements and claims, the

 United States Government has been damaged and continues to be damaged in the amount of

 millions of dollars.




 6
    To the extent wrongdoing occurred prior to May 20, 2009, this Amended Complaint should be deemed to include
 violations of the Federal False Claims Act prior to its recent amendments, e.g., 31 U.S.C. § 3729(a)(1) (2006).
                                               Page 52 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 56 of 59 PageID #: 338



                                                COUNT II
                        (Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(B))7

         218.     Relators reallege and incorporate by reference the allegations made in the preceding

 paragraphs of this Amended Complaint as though fully set forth herein.

         219.     As alleged herein, the Affiliated Defendants knowingly made false representations to

 the United States. The Affiliated Defendants thus knowingly used false records or statements to get

 false or fraudulent claims paid or approved by the United States in violation of the False Claims Act,

 31 U.S.C. § 3729(a)(1)(B).

         220.     Because of the Affiliated Defendants’ acts, the United States sustained damages in an

 amount to be determined at trial and, therefore, is entitled to treble damages under the False Claims

 Act, plus civil penalties of not less than eleven thousand four hundred sixty-three dollars ($11,463)

 or more than twenty-two thousand nine hundred twenty-seven dollars ($22,927) per false claim, as

 provided by 31 U.S.C. § 3729(a) and 28 C.F.R. § 85.58.

                                                COUNT III
                        (Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(C))9

         221.     Relators incorporate herein by reference the preceding paragraphs of the Amended

 Complaint as though fully set forth herein.

         222.     As detailed above, the Affiliated Defendants knowingly conspired, and may still be

 conspiring, with the various entities and/or persons described herein (as well as other unnamed co-

 conspirators) to commit acts in violation of 31 U.S.C. §§ 3729(a)(1) & (a)(2); 31 U.S.C. §§




 7
    To the extent wrongdoing occurred prior to May 20, 2009, this Amended Complaint should be deemed to include
 violations of the Federal False Claims Act prior to its recent amendments, e.g., 31 U.S.C. § 3729(a)(2) (2006).
 8
   These figures are subject to change pursuant to the Federal Civil Penalties Inflation Adjustment Act of 1990, Pub. L.
 101-410, 104 Stat. 890 (Oct. 5, 1990), as amended.
 9
   To the extent wrongdoing occurred prior to May 20, 2009, this Amended Complaint should be deemed to include
 violations of the Federal False Claims Act prior to its recent amendments, e.g., 31 U.S.C. § 3729(a)(3) (2006).
                                                   Page 53 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 57 of 59 PageID #: 339



 3729(a)(1)(A) & (a)(1)(B). The Affiliated Defendants and these entities and/or persons committed

 overt acts in furtherance of the conspiracy as described above.

         223.    As a result of Affiliated Defendants’ actions, as set forth above, the United States of

 America has been, and may continue to be, severely damaged.

                                             COUNT IV
                     (Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(G))10

         224.    Relators incorporate herein by reference the preceding paragraphs of the Amended

 Complaint as though fully set forth herein.

         225.    As alleged in detail above, the Affiliated Defendants knowingly avoided or decreased

 their obligation to pay or transmit money to the Government. Specifically, the Affiliated

 Defendants: (i) made, used, or caused to be made or used, records or statements to conceal, avoid, or

 decrease obligations to the United States; (ii) the records or statements were in fact false; and (iii) it

 knew that the records or statements were false.

         226.    As a result of the Affiliated Defendants’ actions as set forth above, the United States

 of America has been, and may continue to be, severely damaged.

                                          PRAYER FOR RELIEF

 WHEREFORE, Relators pray for judgment against the Affiliated Defendants as follows:

         A.      That the Affiliated Defendants be ordered to cease and desist from submitting any

 falser claims, or further violating 31 U.S.C. § 3729 et seq.;

         B.      That judgment be entered in Relators’ favor and against the Affiliated Defendants in

 the amount of each false or fraudulent claim, multiplied as provided for in 31 U.S.C. § 3729(a), plus

 a civil penalty of not less than eleven thousand four hundred sixty-three dollars ($11,463) or more

 than twenty-two thousand nine hundred twenty-seven dollars ($22,927) per false claim, as provided


 10
   To the extent wrongdoing occurred prior to May 20, 2009, this Amended Complaint should be deemed to include
 violations of the Federal False Claims Act prior to its recent amendments, e.g., 31 U.S.C. § 3729(a)(7) (2006).
                                               Page 54 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 58 of 59 PageID #: 340



 by 31 U.S.C. § 3729(a) and 28 C.F.R. § 85.5, to the extent such multiplied penalties shall fairly

 compensate the United States of America for losses resulting from the various schemes undertaken

 by Defendants, together with penalties for specific claims to be identified at trial after full discovery;

        C.      That Relators be awarded the maximum amount allowed pursuant to 31 U.S.C.

 § 3730(d);

        D.      That the Affiliated Defendants be ordered to disgorge all sums by which they have

 been enriched unjustly by their wrongful conduct;

        E.      That judgment be granted for Relators against the Affiliated Defendants for all costs,

 including, but not limited to, court costs, expert fees and all attorneys' fees incurred by Relators in

 the prosecution of this suit; and

        F.      That the Court issue an order enjoining the Defendants from continuing to engage in

 the fraudulent conduct alleged herein; and

        G.      That this Court award such further relief as it deems just and proper.


                                       JURY TRIAL DEMAND

        Relators demand a trial by jury of all issues so triable.


                                                        Respectfully submitted,

        Dated: April 4, 2023


                                                        /s/ Anthony J. Majestro
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                                              Page 55 of 56
Case 1:23-cv-00001-TSK-MJA Document 80 Filed 04/12/23 Page 59 of 59 PageID #: 341



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                                  Page 56 of 56
